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                     IN THE UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF ARKANSAS
                               LITTLE ROCK DIVISION


IN RE: JAMES EDWARD TOMASSINI and                                     Case No. 4:18-bk-12259-T
       MICHELLE SUSANNE TOMASSINI, Debtors                                            Chapter 7


                             MOTION TO DISMISS THE CASE AND
                            OBJECTION TO REQUEST FOR WAIVER

        The United States Trustee (“UST”) for Region 13, through the undersigned counsel, moves

the Court to dismiss this case pursuant to 11 U.S.C. § 707(a). In support of this motion, the UST

respectfully states that:

        1.      This Court has jurisdiction of this matter pursuant to 28 U.S.C. §§ 1334, 157(a),

and Local Rule 83.1 of the District Court.

        2.      This case was commenced on April 23, 2018, by the filing of a voluntary petition

under Chapter 7 of the United States Bankruptcy Code.

        3.      On April 23, 2017, the Debtors filed a petition which requested a waiver of the

requirement of pre-petition budget and credit counseling.

        4.      Pursuant to 11 U.S.C. § 109(h), an individual may not be a debtor unless during the

180-day period preceding the filing of the petition the debtor received from an approved nonprofit

budget and credit counseling agency a briefing that outlined the opportunities for available credit

counseling and assisted the individual in performing a related budget analysis.

        5.      Pursuant to 11 U.S.C. § 521(b)(1), a debtor shall file with the Court a credit

counseling certificate from the approved agency that provided the briefing and related budget

analysis required pursuant to § 109(h). Pursuant to Interim Bankruptcy Rule 1007(b)(3) and (c),

a debtor must file with a voluntary petition either the Certificate of Credit Counseling; a

“certification” under 11 U.S.C. §109(h)(3); or a request for a determination by the Court under 11

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U.S.C. §109(h)(4) requesting a waiver of the credit counseling requirement due to incapacity,

disability or military service in a combat zone.

         6.    A request for a deferral of the credit counseling requirements pursuant to

§109(h)(3) must be signed by the debtor personally and in a form consistent with 28 U.S.C. § 1746,

such that the debtor declares under penalty of perjury that the statements made are true and correct.

See, In Re Rodriguez, 336 B.R. 462, 470 (Bankr. D. Id. 2005); also see, In Re Cobb, 343 B.R. 204

(Bankr. E.D. Ark. 2006).

         7.    Pursuant to §109(h)(3), the Debtors’ certification must describe exigent

circumstances that merit a waiver of the credit counseling requirements; state that the Debtors

requested credit counseling services from an approved agency, but were unable to obtain the

services during the 5-day period beginning on the date on which the Debtors made the request;

and is satisfactory to the Court.

         8.    The Debtors’ certification of exigent circumstances should contain a description of

the facts underlying any alleged exigent circumstances; the name of the credit counseling agencies

that were contacted; the date the request for counseling was made; an explanation why the debtor

believed that the services could not be obtained before the filing; and a date when the services are

reasonably likely to be obtained. See In Re Afolabi, 343 B.R. 195 (Bankr. S.D. Ind. , 2006); In Re

Dansby, 340 B.R. 564 (Bankr. D.S.C. 2006).

         9.    The exigent circumstances exception to the credit counseling requirement has three

statutory requirements. All three requirements must be met to warrant a deferral of the credit

counseling requirement pursuant to §109(h)(3). See, In Re Dixon, 338 B.R. 383, (8th Cir. BAP

2006).



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       10.     The Debtors in this case have not complied with the statutory requirements of

§109(h)(3) and are not eligible for a deferral of the pre-filing credit counseling requirement of

§109(h)(1).

       11.     The Debtors’ failure to obtain pre-petition credit counseling and failure to certify

factors that would merit a deferral of the credit counseling requirements means that the Debtors

are not eligible to be debtors under the Bankruptcy Code. See, In Re Dixon, 338 B.R. 383, (8th

Cir. BAP 2006).

       12.     For the reasons stated above, cause exists pursuant to 11 U.S.C. § 707(a) for

dismissal of the Debtors’ bankruptcy case.

       WHEREFORE, the United States Trustee prays that the Debtors’ request for waiver of the

credit counseling requirements be denied; that this case be dismissed; and for all further and just

relief to which they may be entitled.

                                             DANIEL J. CASAMATTA
                                             ACTING UNITED STATES TRUSTEE

                                             CHARLES W. TUCKER
                                             ASSISTANT UNITED STATES TRUSTEE


                                             _/s/ Joseph A. DiPietro______________________
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                                  CERTIFICATE OF SERVICE

        I certify that I have mailed a copy of the foregoing pleading to the following attorneys
and parties of interest by ordinary mail with sufficient postage thereon or by electronic mail on
this 30th day of April, 2018.

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                                             __/s/ Joseph A. DiPietro_____________________
                                             JOSEPH A. DiPIETRO




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